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ATTORNEY FOR DEFENDANT
FRANK LOUIS SMEDILE

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

UNITED STATES OF AMERICA, ) No, 08-CR-00199-PMP-PAL

)
Plaintiff, ) DEFENDANT'S SENTENCING

) MEMORANDUM
vs. )
) Date: May 11, 2009
FRANK LOUIS SMEDILE ) Time: 1:30 p.m.
Defendant. ) The Hon. Philip M. Pro

)
)
))

INTRODUCTION

Defendant Frank Smedile pled guilty to a violation of 18 U.S.C. §2252A (a) (2), Receipt
of Child Pornography. The written plea agreement contemplates an adjusted offense level of 30
and that the government will recommend a sentence of 97 months (low end of the Sentencing
Guidelines). The probation officer also calculates an adjusted offense level of 30 and a Criminal
History Category I, resulting in an advisory guideline range of 97 to 121 months. As required,
the probation officer reviewed 18 U.S.C. § 3553(a) for guidance in determining an appropriate

sentence.

 
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The Court must consider all of the factors outlined in 18 U.S.C. § 3553(a), not just the
guidelines, in determining a sentence that is sufficient, but not greater than necessary to meet the
goals of sentencing. United States vs. Booker, 125 S.Ct. 738 (2005). The primary directive in 18
U.S.C. § 3553(a) is for sentencing courts to impose a sentence which is sufficient, but not greater
than necessary, to comply with the four objectives of sentencing: (1) to provide just punishment;
(2) to afford adequate deterrence to criminal conduct; (3) to protect the public from further

crimes of the defendant; (4) and to provide the defendant with effective rehabilitative treatment.

ARGUMENT

I

THE COURT SHOULD ORDER A TERM OF FIVE YEARS SUPERVISED RELEASE
RATHER THAN THE LIFETIME TERM RECOMMENDED BY PROBATION

The presentence report recommends a term of lifetime supervision on Supervised
Release. There are no aggravating factors that warrant such a recommendation and the Probation
Officer provides no factual or legal grounds to support his recommendation for lifetime
supervision.

Given Mr. Smedile’s lack of prior criminal record including the lack of any other history
involving sexual exploitation of minors, the conclusion by two psychologists that he is not a
pedophile, that he is a low risk to re-offend and that he is amenable to treatment (See reports of
evaluations by John Paglini, Psy.D. and Jeremy Coles, Ph.D.), he is just the type of offender for
which the low end of the Guideline range is appropriate. Thus, the court should sentence Mr.

Smedile to a term of 5 years of supervised release.

 
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Il.

THE NATURE AND CIRCUMSTANCES OF THE OFFENSE AND THE HISTORY A
CHARACTERISTICS OF THE DEFENDANT SHOULD BE CONSIDERED BY THE C

RT

In determining a minimally sufficient sentence, 18 U.S.C. § 3553(a) directs the court to look at

the nature and circumstances of the offense and the history and characteristics of the Defendant.

In the instant case, agents seized 239 images and 50 video files of child pornography.
According to USSG §2G2.2(b)(7) and (comment n.4(B)(ii), each video is equal to 75 images and
the presentence report (hereafter “PSR”) calculates a total of 3,989 images. The counting
method unduly increases the number of images by almost 100 fold. Indeed, a defendant need
only possess 6 video files to receive the maximum upward adjustment for number of images.
The counting method, which treats each video as equal to 75 images, overstates the seriousness
of the offense conduct and thus should be taken into consideration.

Furthermore, with respect to Mr. Smedile’s personal history and characteristics, he is a
44-year-old male who was raised in a loving, stable family. Other than an arrest for Driving
Under the Influence 23 years ago, he has no prior criminal record. Mr. Smedile has a stable
employment history and at times, was employed at two positions. Mr. Smedile was involved in a
horrendous near-fatal pedestrian accident when he was struck by an automobile when he was a
child. Mr. Smedile suffers from chronic back pain and a constant, severe ringing in his right ear.
He has been diagnosed with panic disorder, making his incarceration more difficult than that that
experienced by typical offenders. Again, Mr. Smedile has also been evaluated by two

psychologists as a low risk to re-offend and amenable to probation supervision.

III.

A SENTENCE AT THE LOW END OF THE GUIDELINE RANGE MORE THAN
ADEQUATELY REFLECTS THE SERIOUSNESS OF THE OFFENSE AND PROVIDES
JUST PUNISHMENT.

Mr. Smedile did not attempt to trade or send images to others, and did not place himself
in situations, activities or employment to be near children. A low end sentence of 97 months

more than adequately reflects the seriousness of this offense of receiving child pornography.

 
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With respect to just punishment, the defendant assumes that the Court is well aware of
the inhumane and dangerous conditions to which inmates are exposed and subjected at the North
Las Vegas Detention Center. This treatment has been the subject of harsh criticism and review.
These conditions are magnified for a person who suffers from panic attacks. Mr. Smedile has
endured 10 months living in these conditions. In addition to a lengthy period of incarceration, he
will be a convicted felon and he will bear the burden of the stigmas and prejudices associated
with being a convicted, registered sex offender.

IV.

A SENTENCE AT THE LOW END OF THE GUIDLINE RANGE MORE THAN
PROVIDES FOR DETERRANCE AND PROTECTION OF THE PUBLIC

With respect to deterrence and protecting the public, Dr. Paglini found that Mr. Smedile
is not a pedophile and does not exhibit any evidence of extreme minimization or denial of sex
offenses and that Mr. Smedile has not endorsed attitudes that support or condone sexual
violence. Dr. Paglini concluded that Mr. Smedile has a very healthy attitude towards
intervention and recommended that he continue treatment pertaining to his viewing of child
pornography and other forms of pornography.

Jeremy Coles, Ph.D, found that Mr. Smedile is not a pedophile and does not possess
characteristics commonly associated with pedophiles. His risk for future sex offenses is
extremely low. Dr. Coles noted, “There appears to be very minimal sexual deviancy in his
psychological make-up which leads me to opine that there is no compulsive, driving force behind]
his sexual activity and desire.” Both Dr. Paglini and Dr. Cole concluded that Mr. Smedile is not
a pedophile, is a low risk for re-offense, and recommended continued treatment.

It should also be noted that Mr. Smedile entered sex offender treatment at Evergreen on
his own volition and participated in this intensive program from January 30, 2007 until he went
into custody on July 30, 2008. His determination to seek and participate in intensive group and
individual sex offender treatment and his desire to continue treatment increase his chances for

success under supervision and reduce the likelihood of recidivism.

 
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V.
THE SENTENCE CONTEMPLATED BY THE PARTIES AND RECOMMENDED BY
THE PROBATION OFFICER IS MORE THAN ADEQUATE IN LIGHT OF THE
APPLICABLE GUIDELINES, SENTENCING RANGES AND POLICY STATEMENTS.

There is a growing concern that the Guidelines for child pornography have been unduly

increased:

The primary Guideline in the instant case is USSG §2G2.2. That Guideline has
undergone 11 amendments since it was first promulgated on November 1, 1987. These
amendments, by and large, were the result of Congressional directives, i-e., legislative fiats
requiring the Commission to modify the Guideline per Congress’ requirements. Such
Congressional directives, while legally permissible, do not comport with the “institutional role”
of the Commission as an expert sentencing agency tasked with developing empirically-based
sentencing guidelines in consultation with penalogical and sociological experts. As the District
Court for the Eastern District of Wisconsin noted with respect to USSG §2G2.2, in its curren
iteration, it “diverges significantly from the Sentencing Commission's typical, empiric
approach, and [can] produce[s] a sentence greater than necessary to provide just punishment.’
United States v. Hanson, 561 F. Supp. 2d 1004, 1008 (E.D. Wisc. 2008); United States v. Stern
__F. Supp. 2d __, 2008 WL 5273714, *_ (N.D. Ohio, Dec. 19, 2008)(“The Court is particularl
troubled that the Guidelines for sentencing those who possess child pornography ‘have bee
repeatedly raised despite evidence and recommendations by the [United States Sentencing
Commission to the contrary."”) (Quoting Hanson, 561 F.Supp.2d at 1009).

 

  
   
   
   
  
     

According to a recent study, “[o]ver the last six years, the mean imposed sentence o
[child pornography] offenders has increased an average of 11.9 months per calendar year.” Tro
Stabenow, Deconstructing the Myth of Careful Study: A Primer on the Flawed Progression o
the Child Pornography Guidelines 2 (2008)(hereinafter “Stabenow”). In fact, the mean sentence
in 2007 for child pornography was 109.6 months versus only 36 months in 1995, or over a
300%o+ increase “in the typical imposed sentence.” Id. at 3.

The reason for this dramatic increase in child pornography sentences was that:

[T]he changes to the child pornography guidelines [were] not the
product of an empirically demonstrated need for consistently
tougher sentencing. Instead, these changes [were] largely the
consequence of numerous morality earmarks, slipped into larger
bills over the last fifteen years, often without notice, debate, or
study of any kind. Congressionally mandated changes were even
enacted to prevent the Commission from implementing carefully
considered modifications which would have lowered applicable
offense levels. Id.

 
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In sum, given the now general recognition that USSG §2G2.2 does not comport with the
intent of the United States Sentencing Commission, it necessarily would be irrational for a court
to rely on this Guideline as being in any way consistent with the sentencing factors set forth at 18)
U.S.C. § 3553(a). Accordingly, for the reasons cited above, Mr. Smedile respectfully requests
that the Court consider as a mitigating factor the fact that USSG §2G2.2, on its face, provides for

harsher sentences than is contemplated by the United States Sentencing Commission.

In Unites States v. Jose Ontiveros, Judge William C. Griesbach, from the Eastern District}
of Wisconsin writes in his sentencing memorandum, “For the reasons set forth by Judge
Adelman in his recent decision in L/nited States v. Hanson, WL2486336, at 4-6, I conclude that
the guideline provisions relating to child pornography offenses of this nature do not reflect the
kind of empirical data, national experience, and independent expertise that are characteristic off
the Commission’s institutional role. The review of the development of those provisions and the
history of child pornography legislation described in the recently published paper cited by Judge
Adelman indicates that the guidelines for these offenses have been repeatedly raised despite
evidence and recommendations by the Commission to the contrary so that now less than 5% off
the defendant's affected by the changes fall within the classes of mass producers, repeat abusers,
and mass distributors that Congress intended to target for the lengthiest sentences. In this case,
Hanson, factors that are present in almost all current child pornography cases, ie., use of a
computer, number of depictions, operated to increase the guideline range significantly above the
mandatory minimum, even for first offenders with no history of sexually exploiting or abusing
minors, or producing, marketing or selling child pornography. Under these circumstances, ]|
decline to give the Guidelines controlling weight.”

Mr. Hanson had a guideline range of 97-121 months and received a 60 month sentence.

Thus, it is submitted that, in light of the above authority and the factors surrounding the
instant case and personal characteristics of Mr. Smedile as referred to above, it is respectfully
submitted that a sentence of 97 months and 5 years supervised release is more than adequate to
provide a sentence that is sufficient, but not greater than necessary to meet the goals of
sentencing under Booker as well as the primary directive of 18 U.S.C. § 3553(a) in that such a

sentence would more than provide just punishment, afford adequate deterrence to criminal

 
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conduct, protect the public from further potential crimes by the defendant and provide the

defendant with effective rehabilitative treatment.

VI.
THE COMBINATION OF ALL FACTORS CONSTITUTES A MITIGATING

CIRCUMSTANCE JUSTIFYING A REDUCED SENTENCE.

The Ninth Circuit has long held that a “combination of factors can together constitute a
mitigating circumstance .....”. See United States v. Cook co" Cir. 1991) 938 F.2d 149, 153;
U.SS.G. section 5K2.0.

When viewed in the aggregate, the facts of this case support a mitigated sentence. The
defendant now sees the severe consequences of involving himself in this illegal conduct. His
statement of acceptance of responsibility clearly reflects this and his remorse for involving
himself in this conduct and for the potential harm it could cause to children.

The defendant submits that the factors described above, as well as those raised in the
Probation Officer’s Report, support a mitigated sentence. Therefore, the defendant respectfully
requests that the Court consider the above factors in their totality as well as individually when

determining what prison sentence it should impose.

VIL.

THE DEFENDANT REQUESTS THAT THE COURT RECOMMEND THAT HE BE
ASSIGNED TO A PRISON CLOSEST TO HIS FAMILY IN LAS VEGAS

The defendant’s parents are elderly and live in Las Vegas. He also has others friends
who provide support to him and who live in the Las Vegas area. Accordingly, the defendant
respectfully requests that the court recommend that he be assigned to a prison as close to Las

Vegas as possible in order to complete any prison sentence that he receives.

 
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CONCLUSION

Defendant Frank Smedile requests that the Court consider the mitigating circumstances
noted above: that he has led a law abiding life and has been a hard working, contributing member
of society, that he did not attempt to trade or send images to others, and that he did not place
himself in situations, activities or employment to be near children. Mr. Smedile availed himself
of intensive sex offender treatment and was actively participating in treatment when he was most
recently arrested. Two psychologists found that Mr. Smedile is not a pedophile, is at a low risk
to re-offend and is amenable to treatment.

Thus, a sentence of 97 months imprisonment with five years supervised release is a more

than adequate sentence to meet the requirements of Booker and its progeny.

DATED: May 6, 2009 Respectfully submitted,

/s/
SETH P. CHAZIN
Attorney for FRANK LOUIS SMEDILE

 

 
